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15                               UNITED STATES DISTRICT COURT

16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                       OAKLAND DIVISION

18   WHATSAPP LLC, and                 )
     META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
19                                     )
                                       )
                     Plaintiffs,       )          ADMINISTRATIVE MOTION TO
20
                                       )          CONSIDER WHETHER ANOTHER
21          v.                         )          PARTY’S MATERIAL SHOULD BE
                                       )          FILED UNDER SEAL
22   NSO GROUP TECHNOLOGIES LIMITED )
     and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
23                                     )          Judge: Hon. Phyllis J. Hamilton
                                       )
                     Defendants.       )
24
                                       )
                                       )          Action Filed: October 29, 2019
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         Case 4:19-cv-07123-PJH Document 272 Filed 01/26/24 Page 2 of 3




 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Memorandum of Points and Authorities in Opposition to Defendants’

 5   Motion for Relief from Case Management Schedule (the “Plaintiffs’ Opposition”) should be sealed.

 6           Plaintiffs’ Opposition contains references to documents that NSO has designated for confi-

 7   dentiality pursuant to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action

 8   and/or sought leave to file under seal. Accordingly, Plaintiffs now move the Court to consider

 9   whether such references in Plaintiffs’ Opposition should be sealed. See N.D. Cal. Civil L.R. 79-

10   5(f). Plaintiffs take no position as to whether these materials satisfy the requirements for sealing,

11   and specifically reserve the right to challenge any confidentiality designations as well as the seala-

12   bility of the materials at issue.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 272 Filed 01/26/24 Page 3 of 3




 1   Dated: January 26, 2024                     Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP
 3
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     CASE NO. 4:19-CV-07123-PJH
